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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         )   CASE NO. 2:15-CR-131 TLN
                                                       )
12                                  Plaintiff,         )
                                                       )   ORDER SEALING THE
13                           v.                        )   UNITED STATES’ SENTENCING
                                                       )   MEMORANDUM
14   JOSE MANUEL VALDEZ TORRES, et al.,                )
                                                       )
15                                                     )   Court: Hon. Troy L. Nunley
                                    Defendants.
                                                       )
16                                                     )
                                                       )
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19          Pursuant to Local Rule 141(b) and based upon the representation contained in the plaintiff United
20 States of America’s Request to Seal, IT IS HEREBY ORDERED that the United States’ 4-page sentencing

21 memorandum and the United States’ Request to Seal shall be SEALED until further order of this Court. It is

22 further ordered that access to the sealed documents shall be limited to respective counsel for the United

23 States and counsel for the defendant for whom the memorandum pertained. The Court specifically finds,

24 based on the information in the United States’ sealing request that the United States has met its burden and

25 established: (1) closure serves a compelling interest; (2) there is a substantial probability that, in the

26 absence of closure, a compelling interest would be harmed; and (3) there are no alternatives to closure
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     SEALING ORDER
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             Case 2:15-cr-00131-TLN Document 456 Filed 05/29/19 Page 2 of 2


 1 that would adequately protect the compelling interest. See Press–Enterprise Co. v. Superior Court, 478

 2 U.S. 1, 13-14 (1986) (Press–Enterprise II ).

 3 Dated: May 29, 2019

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 6                                       Troy L. Nunley
                                         United States District Judge
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     SEALING ORDER
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